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                                           156858
                                                                                           5060 Shoreham Pl., Ste. 300
                                                                                           San Diego, CA 92122
                                                                                           619.525.3990 phone
                                                                                           619.525.3991 fax
                                                                                           www.robbinsllp.com


                                            June 13, 2025

 VIA EMAIL & CM/ECF

 TO: ALL COUNSEL ON THE ATTACHED SERVICE LIST

          Re:    B & R Supermarket, Inc., et al. v. Visa, Inc., et al.,
                 No. 1:17-cv-02738-MKB-JAM

 Dear Counsel:

         Pursuant to Section 3(D) of Judge Brodie's Individual Practices and Rules, plaintiffs B &
 R Supermarket, Inc. (d/b/a Milam's Market), Grove Liquors LLC, Strouk Group LLC (d/b/a
 Monsieur Marcel), and Palero Food Corp. and Cagueyes Food Corp. (d/b/a Fine Fare Supermarket)
 (collectively, "Plaintiffs"), hereby provide defendants Mastercard International Inc. ("Mastercard"),
 Discover Financial Services ("Discover"), Visa Inc. and Visa U.S.A. Inc. ("Visa"), and American
 Express Company ("Amex") with notice of the following motion and supporting documents:
 (1) Plaintiffs' Notice of Motion for Preliminary Approval of Settlement with Discover and Amex;
 (2) Memorandum in Support of Plaintiffs' Motion for Preliminary Approval of Settlement with
 Discover and Amex; (3) Declaration of George C. Aguilar in Support of Plaintiffs' Motion for
 Preliminary Approval of Settlement with Discover and Amex and exhibits 1-11 thereto; and (4)
 [Proposed] Order Granting Preliminary Approval of Settlement with Discover and Amex and
 Directing Notice to the Class.

          The above-listed documents are being served on all parties on the attached service list via
 email.

          Plaintiffs can represent that defendants Discover and Amex will not be filing any response
 to the motion. Plaintiffs will confer with defendants Visa and Mastercard within five business days
 and will thereafter submit either a proposed briefing schedule or a notice that no further briefing
 will be submitted.


                                                             Sincerely,

                                                             /s/ George C. Aguilar

                                                             George C. Aguilar
                                                             (admitted pro hac vice)
                                                             Attorney for Plaintiffs


 cc:   Hon. Margo K. Brodie (via CM/ECF)
       Hon. Joseph A. Marutollo (via CM/ECF)
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